

ORDER

PER CURIAM.
AND NOW, this 26th day of June, 2003, there having been filed with this Court by Carol Ann Black her verified Statement of Resignation dated May 3, 2003, stating that she desires to resign from the Bar of the Commonwealth of Pennsylvania in accordance with the provisions of Rule 215, Pa.R.D.E., it is
ORDERED that the resignation of Carol Ann Black be and it is hereby accepted and she is DISBARRED ON CONSENT from the Bar of the Commonwealth of Pennsylvania; and it is further ORDERED that she shall comply with the provisions of Rule 217, Pa.R.D.E. Respondent shall pay costs, if any, to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
